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 1   DAVID A. TORRES AND ASSOCIATES
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 5   Attorney for:
     CORAL HERRERA
 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                       ) Case No.: 1:16-cr-00106 LJO-SKO
10   UNITED STATES OF AMERICA,                         )
                                                       ) STIPULATION AND ORDER TO
11                  Plaintiff,                         ) CONTINUE THE SENTENCING DATE
                                                       )
12       vs.                                           )
     CORAL HERRERA,                                    )
13                                                     )
                    Defendant                          )
14                                                     )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16   LAWRENCE O’NEILL AND KAREN ESCOBAR, ASSISTANT UNITED STATES

17   ATTORNEY:

18          COMES NOW Defendant, CORAL HERRERA, by and through his attorney of record,

19   David A. Torres, hereby requesting that the sentencing hearing currently set for Monday, January

20   22, 2018 be continued to Monday, February 26, 2018.

21          The initial agreement between myself and AUSA Karen Escobar was to have Ms. Herrera

22   sentenced after her boyfriend and co-defendant, Sair Eduardo Madonado-Soto, was sentenced.

23   He has filed a motion to continue his matter to February 5, 2018. It is hereby requested that this

24   matter be continued to February 26, 2018. I have spoken to AUSA Karen Escobar and she has no

25   objection to continuing the sentencing hearing.




                          Stipulation and Proposed Order to Continue Sentencing
                                                    1
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 1         IT IS SO STIPULATED.

 2                                                            Respectfully Submitted,

 3   DATED: January 18, 2018                                  /s/ David A Torres        ___
                                                              DAVID A. TORRES
 4                                                            Attorney for Defendant
                                                              CORAL HERRERA
 5

 6

 7   DATED: January 18, 2018                                  /s/Karen Escobar__________
                                                              KAREN ESCOBAR
 8                                                            Assistant U.S. Attorney

 9

10

11                                            ORDER

12         The sentencing hearing is continued to February 26, 2018 at

13         9:30 a.m.

14
     IT IS SO ORDERED.
15

16      Dated:   January 19, 2018                       /s/ Lawrence J. O’Neill _____
                                               UNITED STATES CHIEF DISTRICT JUDGE
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                        Stipulation and Proposed Order to Continue Sentencing
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